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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                         Plaintiff,
vs                                         Cr. No.   17-20233
                                           HONORABLE MATTHEW F. LEITMAN
BERTRAM C. JOHNSON,
                      Defendant.
________________________________/

                     DEFENDANT’S SENTENCING MEMORANDUM
     On March 2, 2018, Defendant Bertram C. Johnson pleaded guilty to
Count 1 of the Indictment, “Conspiracy to Commit Theft from a
Federally Funded Program,” in violation of 18 U.S.C. §§ 371,
666(a)(1)(A).    At the time, Mr. Johnson was a sitting Michigan State
Senator; immediately following that plea, he resigned that office.
The offense pertains to a job that then-Senator Johnson provided to
Glynis Thornton, for which she collected hourly wages paid with State
of Michigan funds while doing little work to justify those wages.
Mr. Johnson is scheduled for sentencing on September 6, 2018, at
10:00 a.m.
     The parties and the probation department agree on the scoring of
the United States Sentencing Guidelines, and the only objections to
the PSIR filed by the defense relate to what motivated Mr. Johnson to
commit the acts in question.       However, the defense would note that
neither of these factual disputes implicate the validity of Mr.
Johnson’s guilty plea or any sentencing guidelines variable.
Regardless of his motive, Mr. Johnson fully acknowledges that he
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knowingly and improperly used state funds to pay a friend of his as a
staffer, in a position where that staffer did not do work to earn
those funds.     Therefore, Mr. Johnson is not asking the Court to
adjudicate his dispute with the Government over why he committed the
acts, but rather just to note that there is a difference in opinion
on that score.
     In the main, this memorandum addresses what level of punishment
is appropriate in this case.       The parties agree that the sentencing
guidelines yield a guidelines range of 6-12 months, in Zone B of the

Sentencing Guidelines Table.       As noted at par. 48 of the PSIR, a
sentence within the guidelines range may be satisfied with (1) a
sentence of imprisonment, (2) a split sentence involving imprisonment
in some combination with community confinement or home detention, or
(3) a sentence of probation with a condition or conditions that
substitute intermittent confinement, community confinement, or home
detention for straight imprisonment.
     Based on the facts and circumstances of this offense and this
offender, and in light of the sentencing factors described in 18
U.S.C §3553(a), counsel asks the Court to impose a probationary
sentence with a condition of home detention for that period of time
the Court believes appropriate within the 6-12 month guidelines
range.   For reasons discussed more fully below, Counsel argues that a
probationary sentence will be sufficient, but not greater than
necessary, to meet the goals of sentencing.         See, e.g., Gall v.
United States, 552 U.S. 38, 48-49 and fn. 4 (2007) (recognizing in
the departure context, which this case is not, that probation
involves loss of liberty, is “not granted out of a spirit of




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leniency,” and “can have a significant impact on that person and
society.”).


                                  BACKGROUND
     Personal.    Mr. Johnson will be 45 years old on October 20.             He
was born in Detroit and raised by his mother and father in a
household where all of his material and emotional needs were met.                  He
graduated from University of Detroit Jesuit High School, and in
succeeding years attended college at University of Detroit Mercy

(last in 2014), where at present he is one semester short of
graduation with a double major.       He has 4 children, two of whom he
actively helped raise into adulthood, and two others (ages 16 and 5)
whom he still is raising.      His two youngest children reside primarily
with Mr. Johnson at the Highland Park residence.
     Of serious immediate concern, Mr. Johnson is the primary
caretaker of his 65-year-old mother, who lives with him as well.                  She
suffers from multiple sclerosis, and while she attempts to maintain
her independence she needs Mr. Johnson’s every-day assistance.               On
some days the condition is more debilitating than on other days, but
even on the better days his mother’s ability to maintain her own
basic needs, not to mention their joint household, is significantly
limited.
     Mr. Johnson is healthy, physically and emotionally.              He drinks
sparingly, and has never used illegal drugs.            He has a prior felony
conviction from when he was 19 years old, and another conviction for
a traffic misdemeanor when he was 22.        However, the measure of a
person should not be in the mistakes they have made but rather in how
they respond to those mistakes.       In the decades since his last



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conviction and until this one, Mr. Johnson’s adult life has been
characterized by hard work, and commitment to his family and his
community, both in private and public life.
     Since 2001, Mr. Johnson has worked in the public sector.              From
2001-2006, he was State Representative Bill McConico’s chief of
staff.   Following Rep. McConico’s retirement from the legislature,
Mr. Johnson succeeded him as State Representative and served in that
office from 2007-2010.      Then, he was elected State Senator and served
in that office from 2011 until his recent resignation.            As the

numerous letters submitted on his behalf attest, he worked in the
public sector because he has a strong sense of commitment and loyalty
to his community.
     Mr. Johnson has never been, and probably never will be,
monetarily rich.    He lives to help others.       A number of people
familiar with Mr. Johnson’s work in the legislature have written the
Court describing his energy, tenacity, and commitment in representing
the interests of his community, not just his district but the greater
Detroit area.     They describe his successful advocacy on issues from
the public schools to transportation to street lights to easing the
tax burdens of the indigent and working poor in danger of losing
their homes.    According to one letter writer, that advocacy
translated into some 31 bills passed over a dozen years—-no mean feat
when it is recalled that his party was in the minority for most of
that time.     According to another, his testimony in Lansing was
instrumental in the City of Highland Park getting State approval of
its plan to rise out of insolvency.         According to a third, his work
among his legislative colleagues saved 6 DPS schools from closure.




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These are just a few concrete examples of his efforts and the
advances he helped obtain for his constituents across Metropolitan
Detroit.1
        Within his immediate community, there is heartfelt appreciation
for Mr. Johnson.       One local educator said,

        Bertram Johnson stood side by side with me in the fight
        against those that stood in the way of our children becoming
        well rounded citizens. I also invited Bertram to join me in
        the fight against illiteracy in my city and he rose to the
        challenge. He made sure to come to the school where I teach
        and read to our children and also to share words to the older
        young men in the school. He has participated in numerous
        community service projects with me and for that I am very
        grateful. Each year our school has a welcome back to school
        clap in and Bertram Johnson made sure he was there. The look
        on our students’ faces as they entered the building said it
        all.

Said one Detroit councilperson, “Bert has been a mentor and a strong
pillar within the community that he represents and throughout the
state. * * * I have watched him fight tirelessly for the respect and
funding that is necessary to provide a pathway for cities like
Highland Park to survive.”         And the letter from a local mayor
reflected, “Whenever [Mr. Johnson] is called upon for support, he is
there and available for myself and [his community].              Bert has been a
blessing in assisting our city’s growth and development.”
        Still others wrote about Mr. Johnson’s more individualized
demonstrations of commitment and loyalty.            Family members and close


1 Counsel cannot find it at this writing, but he recalls a newspaper
article that criticized Mr. Johnson for his voting record. The Court
should know that, during that period of time, Mr. Johnson suffered a
horrific accident involving a snowblower. He required nine surgeries
and lengthy rehabilitation to recover most of the use of his mangled
hand. While he was unable to be in Lansing for votes as often as he
would have liked, his legislative advocacy and service to his
constituents continued in other ways, as described.



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friends extol him as a father, and as the day-to-day caretaker for
his mother.    Colleagues express their gratitude for his inspiration
and mentorship, of them and others.         Clearly, Mr. Johnson has made a
strong, positive mark on family, friends, colleagues, and community.
The larger point is that the good he has done and the value he has
provided far outweigh the mistakes he has made.


     Instant case.     This case arose out of Mr. Johnson putting Glynis
Thornton on his staff, as an hourly worker, and authorizing the

payment of wages from the State treasury for hours that were not
actually worked.     The Government’s position is that Mr. Johnson gave
Ms. Thornton the job in repayment of loans, and that she was not
required to do any work.      Mr. Johnson disputes the Government’s
position on those points, and objected to them in the PSIR.              However,
Mr. Johnson does not wish to distract the Court from his acceptance
of responsibility by further contesting those issues.            Accordingly,
we are not asking the Court to resolve the PSIR objections.              We
believe they are immaterial for sentencing purposes.


      ARGUMENT REGARDING SEC. 3553(A) FACTORS, AND FOR PROBATION
     The Court is thoroughly familiar with the factors it is to
consider in sentencing Defendant, pursuant to 18 U.S.C. § 3553(a),
including the directive that the Court impose a “sentence sufficient,
but not greater than necessary” to accomplish the objectives of
sentencing.    In this case, a probationary sentence with home
confinement as directed by the guidelines will satisfy the objectives
of sentencing.     Said a different way, a sentence of incarceration is
unnecessary, and indeed excessive, in addressing the purposes of



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sentencing.     The following factors are relevant in this
determination.
       1.   Nature and Circumstances of the Offense and the Offender.
       There is no question that Mr. Johnson’s offense was serious:             a
democratic society, which relies on public officials’ performance of
their duties honestly and in good faith especially as it relates to
public monies, cannot countenance theft by those officials of those
monies.
       That said, it is axiomatic that the Court is to sentence not

just the offense, but also the offender.         The numerous letters
submitted to the Court, including those whose contents are described
above, describe a man who demonstrates on a daily basis a host of
virtues that society hopes for its members, but too often fails to
see:    care and love for one’s family; hard work, loyalty, and a
commitment to the greater good; the courage to confront injustices
and help the underserved and under-represented.           The mistake that Mr.
Johnson has made must be acknowledged and addressed, but its adverse
impact on society is dwarfed by the good he has done.            As one of the
letters said, “He has made some mistakes, but he has made a whole lot
more exceptional great decisions.”
       Another offender attribute to assess is his remorse.           It can be
difficult to demonstrate remorse in a concrete fashion, but one way
is to try and make things right.       In this case, even though it is
difficult for him to do, Mr. Johnson will make restitution to the
State of Michigan in at least half of the stipulated amount
immediately upon sentencing, and will pay the balance owed as quickly
as the Court orders.




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     Finally, a relevant offender characteristic is his family
responsibilities, and his history of taking care of those
responsibilities.     Mr. Johnson is the primary custodial parent for
both of his young sons, and also the primary caretaker for his mother
who suffers from a debilitating disorder which can be progressive.
His presence in the home is necessary for the wellbeing of his sons
and his mother.
     Balancing the offense against all of these offender
characteristics—-Mr. Johnson’s long track record of hard-working and

faithful service to his community, his remorse, and his family
responsibilities--militates in favor of a probationary sentence and
against one involving incarceration.        Where non-incarceration
alternatives are available and proportional, as they are here or the
guidelines would not provide for them, in these circumstances
incarceration should not be the default punishment.
     The Court will note that some characteristics of Mr. Johnson
discussed above are mentioned in the Sentencing Guidelines.               For
instance, an offender’s history of public service and other “good
works” is discussed in USSG §5H1.11 (Policy Statement).               Similarly, a
discussion of “Family Ties and Responsibilities” is found in USSG
§5H1.6 (Policy Statement).      For each, the policy statement provides
that such characteristics are “not ordinarily relevant in determining
whether a departure may be warranted.”         (Emphasis supplied.)
However, in advocating for a sentence of probation, the defense is
not seeking a “departure.”      Probation is an authorized sentence under
the guidelines as scored in this case; no downward departure is




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necessary for such a sentence to be imposed.            Therefore, these Policy
Statements are inapposite in this case.
     The “Introductory Commentary” to Part H. of the Sentencing
Guidelines (the part that contains 5H1.6 and 5H1.11) recognizes this
principle.   That Commentary notes, in part:

     Generally, the most appropriate use of specific offender
     characteristics [such as those discussed above] is to
     consider them not as a reason for a sentence outside the
     applicable guideline range but for other reasons, such as in
     determining the sentencing within the guideline range, the
     type of sentence (e.g. probation or imprisonment) within the
     sentencing options available for the applicable Zone on the
     Sentencing Table, and various other aspects of an appropriate
     sentence.

Guidelines Manual, Nov. 1, 2016, p. 473.         [Emphasis supplied.]
     Similarly, the payment of restitution required by law may not be
considered in determining whether to grant a downward departure from
the Guidelines.    See U.S.S.G. §5K2.0(d)(5).       Again, however, in
determining a sentence within the guidelines, 5K2.0(d)(5) does not
prevent the sentencing court from taking into account a defendant’s
demonstrated remorse by his commitment to promptly pay restitution.
Indeed, since time immemorial sentencing judges have assessed a
defendant’s acknowledgment of wrongdoing and remorse for that
wrongdoing when imposing sentence.
     Counsel reiterates that the Court’s sentence does not issue just
with respect to the offense and Mr. Johnson’s participation in it,
but rather in view of the entirety of his life.            In determining what
is appropriate for a particular offender within the guidelines range,
the Court is expected to, and should, take note of the offender’s
positive contributions to society just as it does the negative impact
of the criminal behavior.      The Court is expected to consider what



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other important obligations the offender has in his life and how he
has met them historically.      The Court is expected to gauge the
offender’s remorse and related commitment to take the appropriate
lessons from his conviction.
     In this case, Mr. Johnson’s life’s “body of work” is
overwhelmingly positive, and demonstrably beneficial to his family
and community.    He has important family obligations that will suffer
if he is incarcerated.     And his remorse and commitment to do better
is patent.     On this factor, in considering the above, counsel urges

the Court to find that a guidelines-authorized sentence to probation
with home confinement will be “sufficient but not greater than
necessary” to accomplish the objectives of sentencing.
     2.     “Just punishment” that promotes respect for the law.
     As recognized by Gall, supra, any substantial restriction of
freedom, even probation, constitutes “punishment” when considering
what form of punishment is appropriate in a given case.              The
guidelines authorize probation with home confinement in a case such
as this one.     Equally important, there is no thumb on the scale in
favor of incarceration over the alternatives to incarceration
authorized by the guidelines, like probation.          So, by definition,
probation is deemed a “just” punishment under the guidelines.
     In the course of assessing whether probation provides a
sufficient quantum of “just punishment,” it also may be appropriate
to consider the collateral consequences already incurred by the
offender.     In this case, Mr. Johnson has suffered a severe penalty in
resigning his office.     He has been held up to ridicule and contempt.
This all may be justified, but that does not lessen the fact that he




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has suffered that severe penalty.       Again, a probationary sentence as
described above constitutes additional consequence and punishment
that is sufficient, fair, just, and one that affirms respect for the
law.
       3.   Afford deterrence/protect the public.
       “Deterrence” is a concept usually applied to the anticipated
impact of a sentence on others who might contemplate similar criminal
activity.    It is commonly observed that deterrence has more to do
with the “certainty” of punishment rather than its “severity.”

Regardless of the sentence imposed by the Court, it seems likely that
a similarly situated public official knowing of this case would find
enough deterrent effect simply by Mr. Johnson’s ordeal, its felony
outcome, and the accompanying loss of office.
       “Protection of the public” usually refers to the impact of
sentence on the defendant, and future recidivism.           This offense
behavior was aberrant in Mr. Johnson’s adult life, as, again, the
numerous letters submitted on his behalf help illustrate.             To the
extent one might argue to the contrary based on his trouble as a
youth, that argument would be misplaced.        For one thing, even in his
youth those troubles were completely out of character.           More
significantly, though, when Mr. Johnson got past those troubles in
his early 20s he made himself better.        He learned trades as a barber
and bartender.    He went back to school.      He often worked more than
one job, including, for some years, working for Rep. McConico while
at the same time managing his father’s law office.           Mr. Johnson today
is not Mr. Johnson as a 19 year old, and judging him by his past




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troubles would do him a great disservice.         In sum, there is no reason
to believe that he will engage again in criminal behavior.
     The data bolsters this conclusion. As mentioned, Mr. Johnson
will be 45 years old in a few weeks.         Studies consistently have shown
that recidivism declines significantly as age increases.             See, e.g.,
Measuring Recidivism: The Criminal History Computation of the Federal
Sentencing Guidelines, at 12, 28 (2004) (rate of recidivism of
persons between the ages of 41-50, criminal history category I,
measured at 6.9%, with persons over 50 in criminal history category I

measured at 6.2%).2    In addition, we know that persons with strong
family and community support, as Mr. Johnson has in great amounts,
are lower risks to recidivate.
     Given all of this, protecting the public from future harm from
Mr. Johnson seems a remote concern for sentencing purposes, and
certainly not a factor that weighs in favor of incarceration.              To the
contrary, the low risk of recidivism is a factor in favor or
probation.
     4.   Provide needed educational/vocational training, health care.
     This factor does not seem pertinent to Mr. Johnson.             He has more
than adequate educational training.         To the extent that he may
benefit from more, it is more appropriately provided outside of the
custodial environment.     In terms of health care, fortunately he is in
good health, drinks sparingly, and has no history of using illegal
drugs.



2 https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-
publications/2004/200405_Recidivism_Criminal_History.pdf



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      5.   The kinds of sentences available.
      As noted, available sentences within the guidelines range and
Zone include probation, a split sentence (community confinement
and/or home detention, or a combination of imprisonment plus
community confinement/home detention), or traditional incarceration
for up to the statutory maximum term.        No variance or downward
departure from the guidelines is necessary to place Mr. Johnson on
probation.    Therefore, a probationary sentence not only is an
available sentence, but it is as available as any other type of

guidelines sentence.     It should not be viewed as disproportionately
lenient, much less “a break” or “a pass” as some might characterize
it.   It is a fully authorized and proportional sentence.
      6.   Avoid unwarranted sentencing disparities.
      Because a probationary sentence is within the guidelines in this
case, imposing it would not generally create an unwarranted
sentencing disparity.     Likewise, Counsel is unaware of any related
case whose outcome would represent an “unwarranted sentencing
disparity” should Mr. Johnson receive a probationary sentence.


                                  CONCLUSION
      Bertram C. Johnson stands convicted of a serious felony.
Balanced against that, by all accounts he is a wonderful father, a
critically important caretaker to his mother, faithful to his friends
and family, and a stalwart and positive member of his community.               He
is ashamed and remorseful, while at the same time recommitted to
living the upright life that characterized him prior to this offense.
He has suffered a significant penalty already in the resignation of
his office.   Punishment in the form of incarceration is unnecessary



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to further the purposes of sentencing, and instead seems only to be
punishment for punishment’s sake.
     The alternative of probation with conditions is an authorized
sentence, as authorized as any other available sentence including
incarceration.    Moreover, because it is an authorized guidelines
sentence, probation is deemed a sanction that provides appropriate
and proportional punishment for this offense.          As discussed above, a
probationary sentence satisfies every factor under 18 U.S.C. §
3553(a), and equally important, it will allow Mr. Johnson to continue

parenting, working, and otherwise contributing to society without
interruption.    In short, a sentence of probation with home detention
will constitute punishment that is “sufficient but not greater than
necessary” to satisfy the purposes of sentencing.



                                            Respectfully submitted


Dated: August 30, 2018                      s/John A. Shea                   ___
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                           CERTIFICATE OF SERVICE
     The undersigned hereby certifies that, on August 30, 2018, he
electronically filed this Sentencing Memorandum.           Notice of this
filing will be sent to all counsel of record by operation of the
Court's electronic filing system.



Dated: August 30, 2018                      s/John A. Shea
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